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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                 Civil Action No. 2:21-cv-213
                                                                  (Lead Case)
       vs.

TELEFONAKTIEBOLAGET LM
ERICSSON AND ERICSSON INC.,                               JURY TRIAL DEMANDED

               Defendants.


GODO KAISHA IP BRIDGE 1,

               Plaintiff,                                 Civil Action No. 2:21-cv-215
                                                                  (Member Case)
       vs.

NOKIA CORPORATION, NOKIA SOLUTIONS
AND NETWORKS OY, AND NOKIA OF                             JURY TRIAL DEMANDED
AMERICA CORPORATION,

               Defendants.


  UNOPPOSED MOTION FOR EXTENSION OF TO TIME TO TAKE DEPOSITION
          AND RECEIVE DOCUMENTS OF DR. WILLIAM CHOI

       Defendants Ericsson and Nokia respectfully file this unopposed Motion to extend the fact-

discovery deadline for the limited purpose of deposing and receiving documents produced by

Dr. William Choi, an economist who IP Bridge used to support its methodologies described in

documents produced in this litigation. IP Bridge does not oppose the requested relief.

       IP Bridge disclosed Dr. Choi to Defendants on May 4, 2022—the last day of fact

discovery—in connection with the meet-and-confers that led to Defendants’ filing their motion to

compel. See Dkt. Nos. 108 (1st Amend. DCO) & 113 (Mtn. to Compel). The next day, Defendants

told IP Bridge that it intended to serve a subpoena for documents and deposition on Dr. Choi, and
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Defendants asked for confirmation that IP Bridge did not object to Dr. Choi’s subpoena coming

outside of the fact period given the circumstances. IP Bridge responded on Friday May 6, stating

that it did not object and that it would have an answer next week regarding whether Ropes & Gray

could accept the subpoena on behalf of Dr. Choi. Defendants sent notice of the subpoena to

IP Bridge on May 10, and on May 11, IP Bridge notified Defendants that Ropes & Gray would

accept service on behalf of Dr. Choi. Defendants attached the subpoena for service the same day.

       Accordingly, Defendants respectfully request that the Court extend the fact-discovery

deadline for the limited purpose of deposing and receiving documents produced by Dr. Choi. This

extension will not impact any other deadline set by the Court in this case and is not made for

purposes of delay.




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 Dated: May 23, 2022                      MCKOOL SMITH, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been

served on all counsel of record via the Court’s ECF system on May 23, 2022.

                                                    /s/ Nicholas Mathews
                                                    Nicholas Mathews


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that pursuant to Local Rules CV-7(h) and (i), counsel for

Ericsson conferred with counsel for IP Bridge and counsel for IP Bridge indicated that they are

unopposed to the relief sought herein.

                                                    /s/ Nicholas Mathews
                                                    Nicholas Mathews




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